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                     Exhibit B
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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


NATIONAL COUNCIL OF
NONPROFITS,
1001 G Street NW, Suite 700 East
Washington, D.C. 20001,

AMERICAN PUBLIC HEALTH
ASSOCIATION,
800 I Street NW
Washington, D.C. 20001,

MAIN STREET ALLIANCE,
909 Rose Avenue
North Bethesda, MD 20852,

and

SAGE,
305 7th Avenue 15th Floor
New York, N.Y. 10001,


Plaintiffs,

v.

OFFICE OF MANAGEMENT &                      Case No.
BUDGET,​
725 17th Street, N.W.                       Declaration of National Council of
Washington, D.C. 20503,                     Nonprofits

and

MATTHEW VAETH, in his official
capacity as Acting Director, Office of
Management and Budget​
725 17th Street, N.W.​
Washington, D.C. 20503,

Defendants.

                          DECLARATION OF DIANE YENTEL
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I, Diane Yentel, declare as follows:

   1.​ I am the President and CEO of the National Council of Nonprofits (“NCN”), which is the

       largest sector-wide network of nonprofits in the United States.

   2.​ Our members include state associations that collectively represent more than 30,000

       nonprofit and foundation members across the country.

   3.​ NCN’s core mission is to champion, connect, and inform the nonprofit sector. We are

       dedicated to improving government-nonprofit contracting systems and strengthening

       public-private partnerships at all levels through collaboration and direct engagement.

   4.​ NCN works to support government-nonprofit grant processes that streamline policies and

       procedures to avoid duplication and waste, develop standardized definitions for grant

       language, and ensure that payments to nonprofit organizations for direct and indirect

       costs are sufficient.

   5.​ We routinely advocate for increased access to federal funding for nonprofits, and assist

       nonprofits in accessing that funding. For example, in 2013, we were successful in

       advocating for a groundbreaking mandate requiring governments to cover the indirect

       costs for nonprofits delivering community services with federal funding. We also

       successfully advocated for $50 billion in forgivable Paycheck Protection Program loans

       for nonprofits’ COVID-19 relief. During this period we advised the charitable nonprofit

       sector on how to access these funds, resulting in more than 200,000 nonprofits receiving

       relief and retaining 6.2 million nonprofit jobs. Similarly, we ensured nonprofits were

       eligible for funding from the $350 billion in American Rescue Plan dollars allocated for

       pandemic relief and recovery, resulting in more than 5,000 projects that included

       nonprofits from more than 1,400 different government programs.
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   6.​ In addition to advocating for federal funding for nonprofits, we also provide nonprofit

      organizations with the resources needed to operate more effectively, efficiently, and

      ethically. We have put together extensive materials, including maintaining biweekly and

      monthly newsletters, on topics related to financial management and strategic planning for

      nonprofits, including on the requirements, reporting and otherwise, attached to the receipt

      of federal funds.

   7.​ In addition to advising nonprofit organizations, NCN’s expertise and counsel is sought

      after by the U.S. federal government to help strengthen relationships between nonprofits

      and governmental agencies.

Nonprofits Provide Essential Services To The American People

   8.​ Governments at all levels depend on charitable nonprofits to provide efficient and

      effective services to residents that would be more costly if provided by others. The

      nonprofit organizations and foundations who make up our membership provide a variety

      of services to their communities and to our nation. Our member organizations feed

      hungry families, provide services to communities and individuals who have been pushed

      to the shadows of society, keep our communities safe, improve our schools, provide

      health and other essential services, provide disaster relief, offer spiritual and cultural

      enlightenment, and more.

   9.​ NCN has been on the forefront of working with nonprofits across the nation to improve

      the way in which the government and nonprofits work together, including improving the

      efficiency and effectiveness of the grant programs and services.


Nonprofit Organizations Rely on Federal Grants and Financial Assistance To Provide
Essential Services and Programs
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   10.​The nonprofit sector, as a whole, earns about a third of its total revenue through

      government funding programs. It uses this money to fund programs and pay salaries.

   11.​Given the often multi-year lifecycle of grant programs, nonprofits, including our

      members, often budget two to five years in advance. They use expectations about grant

      funds to inform budgeting decisions in the same way that for-profit organizations would.

      Nonprofits make staffing decisions, set organizational priorities, provide essential

      services and programs, and identify and work towards fundraising goals—all based on

      expected funding from federal grants and financial assistance.

   12.​Many nonprofits amongst our membership and networks rely on federal grants and

      financial assistance to serve their missions—from supporting research and services to

      those with cancer and other serious disease and health conditions, to assisting people in

      escaping domestic violence, to providing mental health care and suicide hotlines. Given

      the tight budgets that nonprofits operate under, this money is the lifeblood to many of our

      nonprofit members—crucial to their ability to provide essential services to people and

      communities across our nation.


Office of Management and Budget Memorandum


   13.​Yesterday, the US Office of Management and Budget (“OMB”) issued a directive that

      “[f]inancial assistance should be dedicated to advancing Administration priorities,” and

      that “[t]he use of Federal resources to advance Marxist equity, transgenderism, and green

      new deal social engineering policies is a waste of taxpayer dollars that does not improve

      the day-to-day lives of those we serve.” M-25-13 at 1.
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14.​The memo issues a directive that the federal agencies pause “all activities related to

   obligation or disbursement of all Federal financial assistance, and other relevant agency

   activities that may be implicated by the executive orders, including, but not limited to,

   financial assistance for foreign aid, nongovernmental organizations, DEI, woke gender

   ideology, and the green new deal.” M-25-13 at 2.

15.​The memorandum is devastating for many nonprofits in our network who will have to

   significantly curtail, or even cease, operating core programs, which in turn will harm the

   beneficiaries of those programs, and may struggle to continue supporting full staffing

   levels. Moreover, via its blatant and viewpoint-based threats, it chills the expression,

   speech, and work of these organizations.

16.​The memorandum is also devastating for NCN itself. Since President Trump took office,

   and since news of this memorandum made its way through our communities, we have

   received increased numbers of inquiries from nonprofits in our network seeking advice

   and direction in adapting to the sudden and surprising cuts in federal funding currently

   being effectuated by the Trump administration. As a result, NCN will have to adjust its

   own organizational priorities and plans to meet the moment and continue to support our

   nonprofit members.

17.​The memo is catastrophic and is nothing short of a five-alarm fire for nonprofit

   organizations and the people and communities they serve. It will lead to pauses of

   important community programs, food and safety assistance, and lifesaving research,

   among other things. Even a short pause in funding could be devastating and cost lives,

   decimating thousands of organizations and leaving neighbors without the services they

   need.
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January 28, 2025​   ​     ​      ​    ​        ___/s/ Diane Yentel_________________

​      ​      ​     ​     ​      ​    ​        Diane Yentel
